Case 1:19-cv-03737-CJN Document 1-1 Filed 12/15/19 Page 1 of 2
CIVIL COVER SHEET

JS-44 (Rey. 6/17 DC)

 

L (a) PLAINTIFFS

JANE DOE 1, Individually and on behalf of Proposed
Class Members; JOHN DOE 1, Individually and on behalf
of Proposed Class Members; JOHN DOE 2, Individually
and on behalf of Proposed Class Members: JENNA ROE

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF 1 1 001
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

APPLE INC.; ALPHABET, INC.; MICROSOFT, INC., DELL
TECHNOLOGIES, INC.; and TESLA, INC

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT NA

CIN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
Terrence Collingsworth

621 Maryland Ave. NE
Washington, DC, 20002

 

ATTORNEYS (IF KNOWN)
Unknown

 

II. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

© 3 Federal Question
(U.S. Government Not a Party)

1U.S. Government
Plaintiff

O 4 Diversity
Cndicate Citizenship of

Parties in item III)

2 U.S. Government
Defendant

 

Citizen of this State

Citizen of Another State

Citizen or Subject of a
Foreign Country

Il. CITIZENSHIP OF PRINCIPAL PARTIES (LACE AN x IN ONE BOX FOR
PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

PTF DFT PTF DFT
O 1 O 1 Incorporated or Principal Place O 4 © 4
of Business in This State
O22 ©2 Incorporated and Principal Place Os ©:
of Business in Another State
3 3
© O Foreign Nation O 6 O 6

 

IV. CASE ASSIGNMENT AND NATURE OF SUIT
(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

 

© A. Antitrust |O B. Personal Injury/

Malpractice

[]410 Antitrust [_] 310 Airplane

[_] 315 Airplane Product Liability
[__] 320 Assault, Libel & Slander
CJ 330 Federal Employers Liability

Cl 360 Other Personal Injury

[] 362 Medical Malpractice

[_] 365 Product Liability

| 367 Health Care/Pharmaceutical
Personal Injury Product Liability

[_] 368 Asbestos Product Liability

 

 

O C. Administrative Agency

Review

[_] 151 Medicare Act

Social Securit
[_] 861 HIA (1395ff)

[_] 340 Marine [__] 862 Black Lung (923)
CJ 345 Marine Product Liability CI 863 DIWC/ DIWW (4035(g))
[_1350 Motor Vehicle [__] 864 SSID Title XVI
[1355 Motor Vehicle Product Liability | L_] 865 RSI (405(2))

Other Statutes

L_] 891 Agricultural Acts
[__] 893 Environmental Matters
[__] 890 Other Statutory Actions (If

Administrative Agency is
Involved)

 

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(if Antitrust, then A governs)*

 

OF. Pro Se General Civil

 

© E. General Civil (Other) OR
Real Property Bankruptcy
L_]210 Land Condemnation [__] 422 Appeal 27 USC 158
[] 220 Foreclosure [_] 423 Withdrawal 28 USC 157
[__]230 Rent, Lease & Ejectment
[__]240 Torts to Land Prisoner Petitions
[1] 245 Tort Product Liability 535 Death Penalty
[__]290 All Other Real Property [_] 540 Mandamus & Other
[_] 550 Civil Rights
Personal Property CJ 555 Prison Conditions
L__]370 Other Fraud [1] 560 Civil Detainee — Conditions
[1371 Truth in Lending of Confinement
| 380 Other Personal Property
Damage Property Rights
[__]385 Property Damage Cd 820 Copyrights
Product Liability [_] 830 Patent
[_] 835 Patent - Abbreviated New
Drug Application
CI 840 Trademark

 

 

Federal Tax Suits
[__] 870 Taxes (US plaintiff or
defendant)

[_] 871 IRS-Third Party 26 USC
7609

Forfeiture/Penalty
[__] 625 Drug Related Seizure of

Property 21 USC 881
[__] 690 Other

Other Statutes

[__] 375 False Claims Act

[_] 376 Qui Tam (31 USC
3729(a))

[_] 400 State Reapportionment

[__] 430 Banks & Banking

[__] 450 Commerce/ICC
Rates/etc.

[__] 460 Deportation

 

 

[__] 462 Naturalization
Application

[__] 465 Other Immigration
Actions

[__] 470 Racketeer Influenced
& Corrupt Organization

[__] 480 Consumer Credit

[__] 490 Cable/Satellite TV

[_] 850 Securities/Commodities/
Exchange

[_] 896 Arbitration

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

[X] 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

 

 

 
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© G. Habeas Corpus/
2255

| 530 Habeas Corpus — General

CI 510 Motion/Vacate Sentence

[_] 463 Habeas Corpus — Alien
Detainee

© H. Employment
Discrimination

[__] 442 Civil Rights - Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability, age,
religion, retaliation)

*(If pro se, select this deck)*

© I. FOIA/Privacy Act

[1895 Freedom of Information Act
[_] 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

© J. Student Loan

[_] 152 Recovery of Defaulted
Student Loan
(excluding veterans)

 

© K. Labor/ERISA
(non-employment)

[__] 710 Fair Labor Standards Act
[__] 720 Labor/Mgmt. Relations
[__] 740 Labor Railway Act
[__] 751 Family and Medical

Leave Act
[__] 790 Other Labor Litigation
[__] 791 Empl. Ret. Inc. Security Act

 

© L. Other Civil Rights
(non-employment)

[__] 441 Voting (if not Voting Rights
Act)

[_]443 Housing/Accommodations

[_] 440 Other Civil Rights

[__] 445 Americans w/Disabilities —
Employment

[_] 446 Americans w/Disabilities —
Other

[__] 448 Education

 

© M. Contract

| 110 Insurance

CI 120 Marine

[_] 130 Miller Act

LJ 140 Negotiable Instrument

[150 Recovery of Overpayment
& Enforcement of
Judgment

CI 153 Recovery of Overpayment
of Veteran’s Benefits

[__] 160 Stockholder’s Suits

[_] 190 Other Contracts

[__] 195 Contract Product Liability

[__] 196 Franchise

 

O N. Three-Judge
Court

[__] 441 Civil Rights — Voting
(if Voting Rights Act)

 

V. ORIGIN
© 10riginal © 2 Removed
Proceeding from State

Court

oO 3 Remanded

© 4Reinstated © 5 Transferred

O 6 Multi-district O 7 Appeal to

O 8 Multi-district

from Appellate or Reopened from another Litigation District Judge Litigation —
Court district (specify) from Mag. Direct File
Judge

 

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
Trafficking Victims Protection Reauthorization Act (“TVPRA”), 18 U.S.C. § 1595 et. seq for forced child labor

 

 

 

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS DEMAND § 100,000,000 + Check YES only if demanded in complaint
COMPLAINT ACTION UNDER F.R.C.P. 23 JURY DEMAND: YES NO
VIIL RELATED CASE(S) (See instruction) YES _ no [ X] If yes, please complete related case form
IF ANY
DATE: December 16, 2019. SIGNATURE OF ATTORNEY OF RECORD TERRENCE COLLINGSWORTH

 

 

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

Ti. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction

under Section II.

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
nature of suit found under the category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

VIL.
the Clerk’s Office.

RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

 
